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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                                        *
                                                              *   CHAPTER 7
GEOFFREY FARRELL ZILBERBERG                                   *
                                                              *   CASE NO. 20-68775-pmb
Debtor                                                        *
------------------------------------------------------------- *
POMPANO LINCOLN INDUSTRIAL, LTD.,                             *   JUDGE BASIER
                                                              *
         Movant                                               *
vs.                                                           *
                                                              *
GEOFFREY FARRELL ZILBERBERG                                   *
                                                              *
         Respondent                                           *

                        MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW, POMPANO LINCOLN INDUSTRIAL, LTD., Movant herein, and

requesting that this Court lift the Automatic Stay, respectfully shows:

                                                        1.

         On March 19, 2020, Debtor entered into a Real Estate Lease (hereinafter the "Lease”)

with Movant, for the real property located at 3453 NW 19th Street, Lauderdale Lakes, Florida,

specifically Building 8, Bay #7(“the Leased Space”). A copy of the Lease is attached hereto as

Exhibit "A".

                                                        2.

         Debtor did not surrender the Lease Space at the end of the one-year lease term, and

pursuant to the Lease, became a month-to-month tenant in April 2020.

                                                        3.

         Debtor defaulted under the payment terms of the Lease and Movant instituted an action to
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obtain possession of the Leased Space. On July 20, 2020, the County Court for Broward

County, Florida entered a Default Judgment for Possession and Writ of Possession for the

Leased Space. Copies of the Judgment and Order entered by the Florida Court are attached as

Exhibit “B”.

                                                 4.

         The Broward County Sheriff executed the Writ of Possession on July 23, 2020, but

pursuant to Florida law would not dispose of the personal property left in the Leased Space.

                                                 5.

         Movant instituted further proceedings, pursuant to Florida’s Disposition of Personal

Property Landlord and Tenant Act (F.S.A. §§715.10 – 715.111), scheduling a sale of the

personal property left in the Leased Space for September 25, 2020.

                                                 6.

         On August 6, 2020 Debtor filed this bankruptcy case under Chapter 13 of the Bankruptcy

Code. Debtor’s bare bones filing did not list Movant as a creditor in the bankruptcy filing, so

Movant did not receive notice of the existence of the automatic stay pursuant to 11 U.S.C.

§362(a). Movant learned of the bankruptcy filing just prior to the scheduled property sale on

September 25, 2020, and the sale was canceled.

                                                 7.

         On September 22, 2020, Debtor filed his Schedules and Statement of Financial Affairs in

this case. Those filings do not identify any property owned by Movant located at the Leased

Space.
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                                                9.

       Movant seeks an order lifting the automatic stay so that the personal property at the

Leased Space can be disposed of pursuant to Florida law.



        WHEREFORE, Movant prays that it be relieved from the automatic stay so that it may

be permitted to complete the disposition of personal property pursuant to Florida law.



       Respectfully submitted, this 23rd day of October, 2020.


                                                     HAYS POTTER & MARTIN, LLP


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                    EXHIBIT “B”
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                               NORTHERN DISTRICT OF GEORGIA
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IN RE:                                                        *
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                                                              *
         Movant                                               *
vs.                                                           *
                                                              *
GEOFFREY FARRELL ZILBERBERG                                   *
                                                              *
         Respondent                                           *

                                       CERTIFICATE OF SERVICE

        This is to certify that I have this day served a copy of the MOTION FOR RELIEF FROM
AUTOMATIC STAY and NOTICE OF HEARING via the Court’s CM/ECF electronic filing
system or by depositing a copy of the same in the U. S. Mail with sufficient postage thereon to
insure delivery, addressed as follows:

Paul Reece Marr                                              Geoffrey Farrell Zilberberg
Paul Reece Marr, P.C.                                        971 David Drive
300 Galleria Parkway, Suite 960                              Atlanta, GA 30327
Atlanta, GA 30329                                            VIA MAIL ONLY
paul.marr@marrlegal.com

Kathleen Steil
Chapter 7 Trustee
Ogier Rothschild & Rosenfeld, PC
P.O. Box 1547
Decatur, GA 30031
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      This 23rd day of October, 2020.


                                               HAYS POTTER & MARTIN, LLP


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